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UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT
                     OF FLORIDA
                               TAMPA DIVISION




ADAM WAYNE TYLER ROBERTS,
Plaintiff,

v.
                                                       Case No: 8:18-cv-1062-T-33TGW

PAM BONDI and RICK SWEARINGEN,

Defendants

__________________________________




             PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS
                   AND CORPORATE DISCLOSURE STATEMENT

            I hereby disclose the following pursuant to this Court’s
interested persons order:

1.) the name of each person, attorney, association of persons, firm,
law firm, partnership, and corporation that has or may have an
interest in the outcome of this action — including subsidiaries,
conglomerates, affiliates, parent corporations, publicly-traded
companies that own 10% or more of a party’s stock, and all other
identifiable legal entities related to any party in the case:

A.)    Plaintiff Adam Wayne Tyler Roberts
B.)    Defendant Pamela J. Bondi in her official capacity
C.)    Defendant Richard L. Swearingen in his official capacity
D.)    Edward M. Wenger - Counsel for Defendants
E.)    Christopher J. Baum – Counsel for Defendants
F.)    Jordan Pratt – Counsel for Defendants
G.)    Amit Agarwal - Counsel for Defendants
H.)    Florida Department of Law Enforcement
I.)    Florida Office of the Attorney General
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2.) the name of every other entity whose publicly-traded stock,
equity, or debt may be substantially affected by the outcome of the
proceedings:

None.

3.) the name of every other entity which is likely to be an active
participant in the proceedings, including the debtor and members of
the creditors’ committee (or twenty largest unsecured creditors) in
bankruptcy cases:

None, other than listed above.

4.) the name of each victim (individual or corporate) of civil and
criminal conduct alleged to be wrongful, including every person who
may be entitled to restitution:

Adam Wayne Tyler Roberts

I hereby certify that, except as disclosed above, I am unaware of any
actual or potential conflict of interest involving the district judge
and magistrate judge assigned to this case, and will immediately
notify the Court in writing on learning of any such conflict.


06/18/18
                                                      _/S/ Adam Roberts____
                                                   Adam Wayne Tyler Roberts
                                                            3320 13th St. E.
                                                   Bradenton, FL 34208-4254
                                                             (941) 877-0324
                                              adam@bumpstocklegalaction.com
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                       CERTIFICATE OF SERVICE

I Adam Wayne Tyler Roberts ,HEREBY CERTIFY that a true and
 correct copy of the foregoing was served to defendants’
   counsel through CM/ECF’s Notice of Electronic Filing
                         System.



                                              __/s/ Adam Roberts______
                                              Adam Wayne Tyler Roberts
